Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 1 of 14         PageID #: 297



  WILLIAM P. BARR
  United States Attorney
  ROBERT S. BREWER, JR.
  United States Attorney
  Southern District of California
  MICHAEL G. WHEAT, CBN 118598
  JANAKI S. GANDHI, CBN 272246
  COLIN M. MCDONALD, CBN 286561
  Special Attorneys to the Attorney General
  880 Front Street, Room 6293
  San Diego, California 92101
  Telephone: (619) 546-8437/8817/9144
  Email: michael.wheat@usdoj.gov

  Attorneys for Defendant
  UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                               Case No. CV 18-000108 LEK-KJM
  HAWAII CENTRAL FEDERAL
  CREDIT UNION,                                UNITED STATES’ MOTION TO
                                               DISMISS
                     Plaintiff,

        v.

  LOUIS MAHINA KEALOHA, et al.,

                     Defendants.

        Comes now the Defendant UNITED STATES OF AMERICA, by and through

  its counsel, William P. Barr, United States Attorney General, Robert S. Brewer, Jr.,

  United States Attorney, Michael G. Wheat, Janaki S. Gandhi, and Colin M.

  McDonald, Special Attorneys to the Attorney General, and hereby files a motion to
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 2 of 14          PageID #: 298



  dismiss these proceedings pursuant to Fed.R.Civ.P. 12(b)(1) and (b)(6), and 21

  U.S.C. § 853(k).

                                            I

                          PROCEDURAL BACKGROUND

        Defendants Katherine Kealoha and Louis Kealoha (collectively “the

  Kealohas”) are indicted on multiple criminal charges, including bank fraud. See CR

  17-00582-JMS-RLP at ECF No. 18 (original indictment); CR 18-00068 JMS-RLP

  at ECF No. 1 (second superseding indictment severed from CR 17-00582-JMS-

  RLP). For purposes of these proceedings, the operative indictment is the second

  superseding indictment in CR 18-00068 JMS-RLP. The indictment alleges that

  because of their commission of bank fraud offenses, the Kealohas should forfeit

  certain personal and real property, including the parcel of real property that is the

  subject of these foreclosure proceedings (“real property” or “forfeitable property”):

        All of that certain parcel of land situated at Maunalua, Honolulu, City
        and County of Honolulu, State of Hawaii, being LOT 84 of the “LUNA­
        KAI MARINA, UNIT 9-A,” as shown on File Plan.No. 1116, filed in
        the Bureau of Conveyances of the State of Hawaii, and containing an
        area of 7,508 square feet, more or less.

        On October 24, 2017, the United States filed a Notice of Pendency of Action

  (“lis pendens”) on the real property. See CR 17-00582-JMS-RLP at ECF No. 64;

  CR 18-00068-JMS-RLP at ECF No. 31. The lis pendens was recorded by the State

  of Hawaii Bureau of Conveyances on November 2, 2017.

                                            2
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 3 of 14         PageID #: 299



        On February 28, 2018, Plaintiff Hawaii Central Federal Credit Union

  (“HCFCU”) initiated foreclosure proceedings against the real property in the First

  Circuit Court for the State of Hawaii. See Hawaii Central Federal Credit Union v.

  Louis Mahina Kealoha, et al., Civil No. 18-1-0313-02-JHC. On March 20, 2018,

  the United States removed the foreclosure proceedings to federal court. See ECF

  No. 1. On June 8, 2018, the United States moved for a stay of these proceedings

  pending the completion of the criminal case or an interlocutory sale, whichever came

  first. See ECF No. 32. On September 26, 2018, the Court granted the United States’

  motion to stay. See ECF Nos. 40, 41.

        On July 10, 2018, the United States and HCFCU jointly moved for an

  interlocutory sale of the real property in the criminal case. See CR 18-00068-JMS-

  RLP at ECF No. 13. As part of that motion, the United States and HCFCU entered

  into a Stipulated Settlement Agreement, which directed the procedure for a private

  sale of the real property and the immediate disbursement of sale proceeds to make

  HCFCU whole under the note and mortgage. See id. at Ex. B. Defendant Sumida

  Au and Wong LLLC was an interested party in the interlocutory sale proceedings.

        On September 27, 2018, Magistrate Judge Richard L. Puglisi granted the

  United States’ motion for interlocutory sale. Thereafter, HCFCU led the private sale

  of the real property.

        On March 18, 2019, Chief District Judge J. Michael Seabright (“criminal

                                           3
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 4 of 14               PageID #: 300



  court”) confirmed the sale of the real property upon motion by HCFCU and after

  conducting a hearing. See CR 18-00068-JMS-RLP at ECF No. 13. The criminal

  court issued the final order on the confirmation of the interlocutory sale on March

  29, 2019. Id. at ECF No. 156. In its final order, the criminal court confirmed the

  sale of the real property to a purchaser offering $1,305,000.00 in cash, and without

  financing contingencies, for the real property. Id. at 2, ¶ 3. The final order also

  authorized the immediate disbursement of sale proceeds to re-pay the United States

  Marshals Service and HCFCU for any costs incurred as a result of the sale, including

  costs of maintenance, repair, marketing, insurance, appraisals, escrow fees, county

  transfer taxes, and title fees, among other costs. See id. at 4-6, ¶ 2.

        Significantly, the final order also authorized the immediate disbursement of

  funds from the sale proceeds to make HCFCU whole under the note and mortgage.

  The final order authorized the payment of $1,099,096.60 to HCFCU, which

  consisted of the total balance owed under the note and mortgage as of March 29,

  2019. Id. The final order directed that all remaining net proceeds from the sale of

  the real property would be held as substitute res in an interest-bearing account by

  the Clerk of the Court pending the final outcome in CR 18-00068-JMS-RLP. See

  id. at 6, ¶ 4. All rights, titles, claims, liens, and interests in the substitute res would

  then be determined at an ancillary proceeding before the criminal court pursuant to

  21 U.S.C. § 853(n), if the Kealohas are convicted. See id. at 6-7, ¶ 5. In addition,

                                              4
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 5 of 14            PageID #: 301



  and separately, the final order directed that HCFCU retained its right under the note

  and mortgage to seek a separate deficiency judgment against the Kealohas if the sale

  proceeds are insufficient to pay all amounts due on the note and mortgage. See id.

  at 6, ¶ 3. On April 16, 2019, HCFCU notified the United States that the escrow

  company, Title Guaranty, will be submitting the net proceeds of the sale

  ($66,675.54) to the Clerk of the Court. 1

        On April 16, 2019, pursuant to the Court’s order, see ECF No. 43, the parties

  submitted letters to the Court regarding the status of these proceedings in light of the

  interlocutory sale. Plaintiff HCFCU stated in its letter that the interlocutory sale was

  confirmed, HCFCU was made whole on the note and mortgage, and that HCFCU

  would seek recovery of any additional costs and fees at the ancillary proceeding in

  the criminal case. ECF No. 45 at 3-4. HCFCU recommended this Court retain

  jurisdiction of this matter “at least until it is determined whether HCFCU will be

  able to recover all of its attorneys’ fees and costs through the ancillary proceeding,

  or if it will be necessary to pursue a deficiency judgment against the Kealoha

  Defendants pursuant to the terms of the Note.” Id. at 4. Defendant Mariner’s Cove

  Association stated in its letter that “there are no delinquent association assessments

  on the part of Defendants KEALOHA as to the [real property.]” ECF No. 44 at 2.

  Defendant Mariner’s Cove Association had no further information about the


  1
        The transfer of net proceeds is still pending.
                                              5
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 6 of 14          PageID #: 302



  interlocutory sale. Id. at 3. Defendant Sumida Au & Wong, LLLC, stated in its

  letter that because the interlocutory sale was completed and the substitute res is

  within the jurisdiction of the criminal court, this Court “has been deprived of the

  subject of the litigation.” ECF No. 46 at 1-2. The Kealohas did not submit a letter.

        Following the above letters, the Court issued a minute order lifting the stay

  “for the limited purpose of permitting the government to file a motion” or “ordering

  the administrative closure of the case” if the government does not file a motion. ECF

  No. 48.

        Thereafter, on April 22, 2019, HCFCU submitted a second letter to the Court

  recommending the Court retain jurisdiction over this matter solely with regard to the

  Kealohas or remand this matter to state court. ECF No. 49 at 3. HCFCU agrees,

  however, that the items it seeks to recover from the sale of the real property fall

  within the jurisdiction of the criminal court and will be addressed at an ancillary

  proceeding pursuant to 21 U.S.C. ¶ 853(n). Id. at 2.

        A status hearing is currently set in this case for May 10, 2019, at 11:15 a.m.

                                           II

                               RELEVANT CASE LAW

        Federal Rule of Civil Procedure 12(b) delineates defenses that can be asserted

  by a party to a federal civil suit. Two of these defenses are lack of subject matter

  jurisdiction, Rule 12(b)(1), and failure to state a claim upon which relief can be

                                           6
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 7 of 14            PageID #: 303



  granted, Rule 12(b)(6). See Iron Arrow Honor Society, etc., et al. v. Heckler, 464

  U.S. 67, 71 (“Federal courts lack jurisdiction to decide moot cases because their

  constitutional authority extends only to actual cases or controversies” and “[t]o

  satisfy the Article III case or controversy requirement, a litigant must have suffered

  some actual injury that can be redressed by a favorable judicial decision.”); Rhoades

  v. Avon Products, Inc., 504 F.3d 1151, 1157 (9th Cir. 2007) (finding that absent a

  true case or controversy, a complaint for declaratory relief is subject to dismissal for

  lack of subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1));

  Northwest Environmental Defense Center v. Gordon, 849 F.2d 1241, 1244 (9th Cir.

  1988) (“The basic question in determining mootness is whether there is a present

  controversy as to which effective relief can be granted”).

        Further, 21 U.S.C. § 853(k) bars the instant suit against the United States.

  Congress has established the exclusive procedure for adjudicating third party

  interests in forfeitable property. See 21 U.S.C. § 853(n). A petitioner must follow

  the specified procedure and may not commence a separate action against the United

  States concerning the validity of any alleged interest in the forfeited property. 21

  U.S.C. § 853(k). 2 Suits affecting an interest in property alleged to be forfeitable to


  2
         Section 853(k) provides that, subject to Section 853(n), no party claiming an
  interest in property subject to forfeiture may: (1) intervene in a trial or appeal of a
  criminal case involving the forfeiture of such property; or (2) commence an action
  at law or equity against the United States concerning the validity of his alleged
  interest in the property subsequent to the filing of an indictment or information
                                             7
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 8 of 14               PageID #: 304



  the United States are actions “against the United States” whether or not the United

  States is specifically named as a party. See United States v. Phillips, 185 F.3d 183,

  185-88 (4th Cir. 1999) (foreclosure sale barred by § 853(k) and therefore invalid;

  such actions constitute premature suits against the United States); United States v.

  Security Marine Credit Corp., 767 F. Supp. 260, 262-64 (S.D. Fla. 1991)

  (foreclosure action commenced after grand jury had returned criminal forfeiture

  indictment was barred by § 853(k) despite fact that United States was not named as

  a defendant); United States v. MacInnes, 223 F. App’x. 549, 554 (9th Cir. 2007)

  (unpublished) (foreclosure sale is an “action … against the United States” and is

  therefore barred by § 853(k)); Bank One N.A. v. Everly, 2002 WL 31056716 at *1

  (unpublished) (N.D. Ill. 2002) (granting motion to dismiss foreclosure action under

  § 853(k) after government had removed case to federal court).3



  alleging that the property is subject to forfeiture under this section.
  3
         A third party with an interest in forfeitable property generally may not
  intervene in a criminal case until after the defendant has been convicted and a
  preliminary forfeiture order has been entered. See United States v. Gilbert, 244 F.3d
  888, 909-10 (11th Cir 2001) (under then applicable rules, third party had to wait
  until entry of final order of forfeiture to avail itself of “exclusive” means for asserting
  rights to forfeited property); United States v. Messino, 122 F.3d 427, 428 (7th Cir
  1997) (third party petitioner must await entry of preliminary order of forfeiture);
  United States v. McCorkle, 143 F.Supp.2d 1311, 1318-19 (M.D. Fla. 2001) (third
  party petitioner must follow statutory procedure, and may not commence separate
  action against United States); cf. United States v. Real Property in Waterboro, 64
  F.3d 752, 755-56 (1st Cir. 1995) (third parties may participate to limited extent in
  pre-trial restraining order proceedings). The procedure with regard to the forfeitable
  property in this case took a different route – Plaintiff HCFCU was permitted (by
                                              8
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 9 of 14            PageID #: 305



        The Ninth Circuit has stated that Section 853(k) “specifically bar[s] third

  parties from intervening in the trial or the appeal of a criminal case to assert their

  interests, or from bringing independent suits against the United States once an

  indictment alleging that the property is subject to forfeiture has been filed.” United

  States v. Nava, 404 F.3d 1119, 1125 (9th Cir. 2005). Instead, “third parties must

  await the defendant’s conviction before filing proceedings to protect their interest in

  the property and must await the court’s order of forfeiture before requesting an

  ancillary hearing.” Id. (citing United States v. Crozier, 777 F.2d 1376, 1382-83 (9th

  Cir. 1985)). This ancillary proceeding, which is the exclusive proceeding in which

  third parties may claim interests in property subject to criminal forfeiture, is

  discussed in 21 U.S.C. § 853(n). See Libretti v. United States, 516 U.S. 29, 44 (1995)

  (“Once the government has secured a stipulation as to forfeitability, third-party

  claimants can establish their entitlement to a return of the assets only by means of a

  hearing afforded under 21 U.S.C. § 853(n)).” (emphasis added)).

        Under Section 853(n), “following the entry of an order of forfeiture,” third

  parties are provided notice of the forfeiture order. 21 U.S.C. § 853(n). This notice

  triggers their right to contest the forfeiture order by asserting an ownership interest.



  agreement with the United States) to intervene in the forfeitable property during the
  pendency of the criminal case. Through that intervention, HCFCU immediately was
  made whole on the note and mortgage, as discussed above, without having to wait
  for the ancillary proceeding at the conclusion of the criminal case.
                                             9
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 10 of 14             PageID #:
                                    306


 Id.; Fed.R.Crim.P. 32.2(e)(2). Following notice, third parties have thirty days to

 petition the court for a hearing to adjudicate the validity of their alleged interest in

 the property. See 21 U.S.C. § 853(n)(2). The third party petitioner would then have

 the burden to prove that he had a pre-existing priority ownership interest in the

 property under 21 U.S.C. § 853(n)(6)(A) before it became subject to forfeiture, or

 that he later acquired the property as a bona fide purchaser for value under 21 U.S.C.

 § 853(n)(6)(b). See 21 U.S.C. §§ 853(n)(6)(A) and (B); Nava, 404 F.3d at 1125 (9th

 Cir. 2005) (“petitioner bears the burden of proving his right, title, or interest under

 § 853(n)(6)”).

                                           III

                                     ARGUMENT

       Plaintiff HCFCU’s complaint must be dismissed.               First, because the

 interlocutory sale is complete, the complaint should be dismissed based on

 Fed.R.Civ.Pro. 12(b)(1) and (b)(6). As discussed above, the United States has

 collaborated with Plaintiff HCFCU in the criminal case to ensure that HCFCU was

 made whole. The interlocutory sale is now complete and HCFCU immediately was

 made whole on the note and mortgage through the proceeds of the sale. HCFCU

 was also repaid for all costs and fees incurred as a result of the sale as agreed upon

 by the United States in the Stipulated Settlement Agreement and approved by the

 criminal court in the final order. Therefore, the foreclosure issue that is the subject

                                           10
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 11 of 14             PageID #:
                                    307


 of this case is moot –HCFCU has been made whole and there is no case or

 controversy for this Court to adjudicate. In addition, there is no relief this Court can

 grant. Because HCFCU has been paid through the interlocutory sale, and any further

 claims HCFCU has against the real property must be made before the criminal court,

 as discussed below, HCFCU cannot be granted any relief by this Court. Thus, this

 case should be dismissed based on Rules 12(b)(1) and (b)(6).

       Second, this suit is barred by 21 U.S.C. § 853(k). Although the United States

 could have moved to dismiss this foreclosure action pursuant to 21 U.S.C. § 853(k)

 immediately after it was removed from state court to federal court, see Everly, 2002

 WL 31056716 at *1 (granting motion to dismiss foreclosure action under § 853(k)

 after government had removed case to federal court), it opted to stay these

 proceedings with the agreement that Plaintiff HCFCU would work with the United

 States to conduct an interlocutory sale. At this juncture, however, dismissal is

 appropriate. The interlocutory sale is complete and the substitute res is within the

 jurisdiction of the criminal court. Any claims HCFCU has regarding costs and fees

 under the note, mortgage, or interlocutory sale against the substitute res must be

 made in an ancillary proceeding before the criminal court pursuant to 21 U.S.C. §

 853(n). Plaintiff HCFCU is barred from making any of these claims for relief

 regarding the substitute res before this Court. See Nava, 404 F.3d at 1125 (“third

 parties must await the defendant’s conviction before filing proceedings to protect

                                           11
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 12 of 14             PageID #:
                                    308


 their interest in the property and must await the court’s order of forfeiture before

 requesting an ancillary hearing.”).

       In its April 22, 2019 letter, Plaintiff HCFCU asked the Court to retain

 jurisdiction over this matter solely with regard to the Kealohas. Plaintiff HCFCU

 reasoned that it wanted to pursue an in personam action against the Kealohas, not an

 in rem action against the real property. See ECF No. 49 at 3.

       First, the instant case concerns the foreclosure of the real property. Should

 HCFCU desire to seek a personal suit, or a deficiency judgment, against the

 Kealohas, it may do so by separate proceeding, likely in state court. However, it

 may not, whether in federal court or state court, pursue an action against the

 substitute res before the conclusion of the criminal case (including any ancillary

 proceeding) because doing so violates 21 U.S.C. § 853(k).

       Second, whether or not the United States continues to be a party to this matter,

 this case remains an action against the United States because it is a foreclosure action

 that concerns the forfeitable property. See MacInnes, 223 F. App’x. at 554

 (foreclosure sale is an “action against the United States and is therefore barred by §

 853(k)); Security Marine Credit Corp., 767 F. Supp. at 262-64 (foreclosure action

 commenced after grand jury had returned criminal forfeiture indictment was barred

 by § 853(k) despite the fact United States was not named as a defendant). Thus, this

 case must be dismissed.

                                           12
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 13 of 14              PageID #:
                                    309


                                            IV

                                    CONCLUSION

       In light of the foregoing, this action should be dismissed without prejudice to

 Plaintiff HCFCU pressing its claimed interest at the proper time in the criminal

 ancillary forfeiture proceeding, and, in its discretion, filing separate suit against the

 Kealohas for a deficiency judgment or other action after completion of the criminal

 forfeiture proceedings.

       Dated: May 9, 2019.                       Respectfully submitted,

                                                 WILLIAM P. BARR
                                                 United States Attorney General

                                                 ROBERT S. BREWER, JR.
                                                 United States Attorney

                                                 /s/ Janaki S. Gandhi
                                                 MICHAEL G. WHEAT
                                                 JANAKI S. GANDHI
                                                 COLIN M. MCDONALD
                                                 Attorneys for Defendant
                                                 United States of America




                                            13
Case 1:18-cv-00108-LEK-KJM Document 55 Filed 05/09/19 Page 14 of 14            PageID #:
                                    310


                           CERTIFICATE OF SERVICE

       I hereby certify that, on the date and by the method of service noted below, a

 true and correct copy of the foregoing was served on the following parties:

 Served Electronically through CM/ECF:

 Jonathan W.Y. Lai                     Russell H. Ando
 Watanabe Ing LLP                      Ekimoto & Morris, LLLC
 First Hawaiian Center                 888 Mililani Street, 2nd Floor
 999 Bishop Street, Suite 1250         Honolulu, Hawaii 96813
 Honolulu, Hawaii 96813                rando@hawaiicondolaw.com
 jlai@wik.com                          Attorney for Defendant Mariner’s Cove
 Attorney for Plaintiff                Association

 Kevin P.H. Sumida
 Sumida Au & Wong LLLC
 735 Bishop Street, Suite 411
 Honolulu, Hawaii 96813
 ksumida@hawaiilaw411.com
 Attorney for Defendant Sumida Au & Wong LLLC

 Served by Federal Express at Last Known Address:

 Louis Mahina Kealoha                         Katherine Elizabeth Kealoha
 4348 Waialae Avenue, #829                    4348 Waialae Avenue, #829
 Honolulu, Hawaii 96816                       Honolulu, Hawaii 96816
 Defendant                                    Defendant


       DATED: May 9, 2019, at San Diego, California.

                                                    /s/ Janaki S. Gandhi
                                                    Attorney for Defendant
                                                    United States of America




                                         14
